Case 1:01-cv-12257-PBS Document 6946-2 Filed 03/05/10 Page 1 of 10




                    Exhibit A
        Case 1:01-cv-12257-PBS Document 6946-2 Filed 03/05/10 Page 2 of 10
Macey, Jonathan R. - Vol. II CONFIDENTIAL                             May 20, 2009
                                   New York, NY

                                                                           Page 259
    --------------------------------------------x

    UNITED STATES OF AMERICA, ex rel,

    VEN-A-CARE, FLORIDA KEYS, INC.,

                               Plaintiffs,

                               Case No. 07-10248

                  -against-

    BOEHRINGER INGELHEIM CORPORATION,

    et al.,

                               Defendants.

    --------------------------------------------x



                               May 20, 2009

                               8:03 a.m.



                        CONFIDENTIAL

              Continued deposition of JONATHAN R.

    MACEY, taken at the offices of Kirkland & Ellis,

    Citigroup Center, 153 East 53rd Street, New York,

    New York, before Georgette K. Betts, a Certified

    Shorthand Reporter, Registered Professional

    Reporter and Notary Public within and for the

    States of New York and New Jersey.




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        Case 1:01-cv-12257-PBS Document 6946-2 Filed 03/05/10 Page 3 of 10
Macey, Jonathan R. - Vol. II CONFIDENTIAL                             May 20, 2009
                               New York, NY

                                                                           Page 260
  1
                             A P P E A R A N C E S:
  2

  3
       Attorneys for United States
  4

  5
                     U.S. DEPARTMENT OF JUSTICE
  6
                     U.S. ATTORNEY'S OFFICE
  7
                     John Joseph Moakley Federal
  8
                     Courthouse
  9
                     1 Courthouse Way
 10
                     Suite 9200
 11
                     Boston, Massachussettes 02210
 12
                     BY:     JAMES J. FAUCI, ESQ.
 13

 14

 15
       Attorneys for Ven-A-Care
 16

 17
                     BERGER & MONTAGUE, P.C.
 18
                     1622 Locust Street
 19
                     Philadelphia, Pennsylvania 19103
 20
                     BY:       SHAUNA ITRI, ESQ.
 21
                               ROSLYN G. POLLACK, ESQ.
 22
                               (via phone)

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        Case 1:01-cv-12257-PBS Document 6946-2 Filed 03/05/10 Page 4 of 10
Macey, Jonathan R. - Vol. II CONFIDENTIAL                             May 20, 2009
                               New York, NY

                                                                           Page 272
  1
       obviously.       My approach would have been I would
  2
       have been shocked to see somebody getting, you
  3
       know, one-third of their pay from this entity,
  4
       one-third of their pay from that entity, one-third
  5
       of the pay from another entity.                  So I was looking
  6
       for those sources.
  7
               Q.     Did you consider any interests of
  8
       fairness or equity in forming your opinion that
  9
       Roxane's corporate veil should -- well, in forming
 10
       your opinions in this case?
 11
               A.     Certainly, yes.
 12
               Q.     What about interests of the public
 13
       convenience or welfare?
 14
               A.     Yes.
 15
               Q.     Are these concepts relevant to the
 16
       analysis of whether a court should pierce a
 17
       corporation's veil?
 18
               A.     Often they are.
 19
               Q.     How so?
 20
               A.     Now just to be clear, in that particular
 21
       question, just to make my answers as clear as I
 22
       can, I testified yesterday that at the level of

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        Case 1:01-cv-12257-PBS Document 6946-2 Filed 03/05/10 Page 5 of 10
Macey, Jonathan R. - Vol. II CONFIDENTIAL                             May 20, 2009
                               New York, NY

                                                                           Page 273
  1
       abstraction at which I'm talking there really
  2
       isn't a difference in the policies and rules of
  3
       disregarding the corporate form from state to
  4
       state.
  5
                      Now you're asking me a more specific
  6
       question having to do with should fairness be
  7
       taken into account.            And that -- with respect to
  8
       that more specific question, I will represent to
  9
       you in answering your question that this is an
 10
       area in which there are differences.                     That is to
 11
       say, some states require an element of unfairness,
 12
       most do, as a condition for disregarding the
 13
       corporate form.          Although there are a few states
 14
       where that requirement is not in place.
 15
                      I do think that the trend is decidedly
 16
       in favor of imposing this -- these requirements
 17
       that you're describing.
 18
               Q.     How do these concepts enter the
 19
       analysis?
 20
               A.     Well --
 21
                      MS. RIVERA:        Can I just object? I just
 22
       want to object.          You're asking him -- he testified

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                                                                 6c1a557d-96cd-4f34-b12c-babc29d57a27
        Case 1:01-cv-12257-PBS Document 6946-2 Filed 03/05/10 Page 6 of 10
Macey, Jonathan R. - Vol. II CONFIDENTIAL                             May 20, 2009
                               New York, NY

                                                                           Page 274
  1
       yesterday he's not giving opinions on the law and
  2
       what the rules are for piercing the corporate
  3
       veil.     So are you asking him this outside the
  4
       context of the expert opinions he's here to
  5
       testify to in this case?
  6
                      MR. FAUCI:        I'm going to ask Professor
  7
       Macey, you can just object to the record and if
  8
       Professor Macey wants clarification he'll ask for
  9
       it, I assume.
 10
                      MS. RIVERA:         Well, I object.
 11
                      MR. FAUCI:        That's fine.
 12
               Q.     The question, Professor Macey, is:
 13
                      How do concepts of fairness and the
 14
       public welfare enter into the analysis of whether
 15
       or not a corporation's veil should be pierced?
 16
               A.     Okay.     Well, as I stated in my report,
 17
       there are strong efficiency reasons for limited
 18
       liability.       In fact, most economists do not
 19
       believe that it is possible to have a developed
 20
       economy that has reasonable levels of income for
 21
       people unless people are able to organize
 22
       businesses in the corporate form, and that means

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        Case 1:01-cv-12257-PBS Document 6946-2 Filed 03/05/10 Page 7 of 10
Macey, Jonathan R. - Vol. II CONFIDENTIAL                             May 20, 2009
                               New York, NY

                                                                           Page 275
  1
       limited liability.
  2
                     So that means we have to -- we raise the
  3
       question under what circumstances should we ignore
  4
       the corporate form and notwithstanding the proper,
  5
       you know, incorporation of a firm, we would
  6
       disregard the corporate form.                 And as we -- as I
  7
       talked about in chapter two -- I'm sorry,
  8
       paragraph two of my report, I'd say the --
  9
       piercing the corporate veil should only be done in
 10
       rare and unusual circumstances.                  Generally the way
 11
       this is organized is a matter of implementing
 12
       policy is to say, well, we need a whole lot of bad
 13
       stuff.     Like we need, you know, disregarding
 14
       corporate form, we need under capitalization, we
 15
       need fraud, we need all sorts of, you know, these
 16
       kind of various factor tests.                 And then the courts
 17
       say even where we have that, we will still not
 18
       disregard the corporate form unless the problems
 19
       that the various factors that might otherwise go
 20
       into a decision to disregard the corporate form
 21
       are combined with elements of unjustness or
 22
       elements of unfairness.

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        Case 1:01-cv-12257-PBS Document 6946-2 Filed 03/05/10 Page 8 of 10
Macey, Jonathan R. - Vol. II CONFIDENTIAL                             May 20, 2009
                               New York, NY

                                                                           Page 276
  1
                      So the way that this plays out as a
  2
       policy matter, people say -- and essentially the
  3
       economics is pretty clear, which is, well, you
  4
       know, suppose a company never has board meetings
  5
       or suppose a company doesn't have a board, or
  6
       suppose a company does all sorts of things that
  7
       are inconsistent with corporate separateness.
  8
       There's really no harm in that necessarily that
  9
       would cause anyone damages.                And so the thinking
 10
       is -- in many cases, so the idea is in order to
 11
       have that necessary element for culpability for
 12
       liability, the notion is, well, we're going to
 13
       have the sort of legal -- once you go through your
 14
       legal checklist, if you will, to identify the
 15
       policies associated with -- and practices
 16
       associated with generating a decision to disregard
 17
       the corporate form, once that is done, if
 18
       everything's okay the analysis stops.                     But if
 19
       there's still questions that remain, then you move
 20
       to the second step about, you know, are there
 21
       elements of unjustness or unfairness.
 22
               Q.     Did you agree with the general

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        Case 1:01-cv-12257-PBS Document 6946-2 Filed 03/05/10 Page 9 of 10
Macey, Jonathan R. - Vol. II CONFIDENTIAL                             May 20, 2009
                               New York, NY

                                                                           Page 279
  1
       analysis moves to issues of unjustice and
  2
       unfairness only if certain other factors necessary
  3
       to pierce the corporate veil have been satisfied;
  4
       is that correct?
  5
               A.     Correct.
  6
               Q.     Did you -- in forming your opinions in
  7
       this case, did you consider issues of unjustness,
  8
       inequity, public convenience, and welfare?
  9
               A.     Yes.
 10
               Q.     How did those inform -- how did those
 11
       issues inform your opinions in this case?
 12
               A.     Well, the kind of standard analysis is
 13
       that, you know, I look at the formation of the
 14
       corporation, the reason for the formation of the
 15
       corporation, did it conduct legitimate business --
 16
       businesses, did it serve a valid purpose, was
 17
       there a, you know, was the basic -- was it a
 18
       criminal enterprise, what -- you know, assuming
 19
       that we think that kind of what -- I started with
 20
       the assumption, frankly, that the pharmaceutical
 21
       industry was -- that it's okay to be in the
 22
       pharmaceutical industry, that the basic thing that

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        Case 1:01-cv-12257-PBS Document 6946-2 Filed 03/05/10 Page 10 of 10
Macey, Jonathan R. - Vol. II CONFIDENTIAL                              May 20, 2009
                                New York, NY

                                                                            Page 280
  1
       they were doing in this case, which is
  2
       manufacturing, selling medicines and
  3
       pharmaceuticals, was a legitimate business.                             And
  4
       so I reached the conclusion that this company had
  5
       been organized for a legitimate business and was
  6
       pursuing those business ends in a legal and an
  7
       appropriate way.
  8
               Q.     Did you consider the scale of the
  9
       claimed damages by the United States?
 10
               A.     I certainly -- yes, I considered the
 11
       government's claims certainly.
 12
               Q.     Do you know what damages -- what the
 13
       amount of damages that have been calculated by the
 14
       United States' damages expert?
 15
               A.     I haven't seen the government's damage
 16
       expert report, but I have in my head that it's a
 17
       very large -- let's...
 18
               Q.     It's admittedly a complicated question.
 19
               A.     You know, I've heard the number in sort
 20
       of nine -- eight or nine digit range.
 21
               Q.     Did you make any evaluation as to
 22
       whether or not Roxane's marketing and sales

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